 

State of Tennessee
Department of State

Division of Business Servioes
312 Rosa L Parks Ave
6th Floor Wm. R, Snodgrass Tower
Nashville, Tennessee 37243

11122[2010 70090960000115327842
Date Cenitied Number

Fi|e NOS 2§_5_3_§
Companyf HIGHWAY GAMES, LLC

Name:
Agent/POE: R/A CORPORAT|ON SERV|CE CO

Address: 1201 HAYS ST
TALLAHASSEE, FL 32301-2525

Country:
RE; PHoNEus. LLC

vS; HiGHwAY GAMEs. LLc

Notice of Service

The enclosed summons and attachments are hereby officially served upon you by the Office of the Tennessee
Secretary of State pursuant to Tennessee Law. Please refer to the summons and attachments for details concern-
ing lhe lawsuit filed against you. lf you have any questions, please contact the clerk of the court which issued the
summons. You can obtain the court's telephone number by calling information (area code) 555-1212. The name of
the court and county where the court is located will be on the attached summons.

The summons will either tell you a court date and time at which you must appear to defend yourself or tell you
the number'of days from the day you are served within which you must tile an answer upon the plaintiffs attorney,
Failure to appear in court at the time specified or failure to answer the summons within the given time could result in
a judgement by default being rendered against you for relief sought in the lawsuit.

The Secretary of State's Oftice cannot give you legal advice |f you need legal advice, plea se consult a private

 

attorney.
Sincerelyl
enclosures Tre Hargett
lnitial: MMH Secretary of State
CC:
SS-4214 (Rev. 3/97) RDA 1003

Exhibit A
Case 4:1O-CV-00091-HSl\/|-WBC Document 1-1 Filed 12/15/10 Page 1 of 26 Page|D #: 4

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SUMMONS
STATE OF TENNESSEE
IN THE CHANCERY COURT FOR BEDFORD COUNTY, TENNESSEE
v AT SHELBYVILLE
PHONEUS, LLC,
SU]WWONS
Plaintiff,
vs. Civil Action No. ._QB§ 3 b rig w
1 n 53 53
HIGHWAY GAMES, LLC, r?§;,= § ~’i
r#rvl. @ '"‘1
'>__: N: C§Ez
Defendant. §§ § ;r;j)
91 2>» 55 112
To the above named Defendant: Highway Games, LLC (,,'E~-"" :'£ fig
1015 Haines Street § .f `P ; .'\-
` l\) .
FH ha j…

Jacksonville, FL 32206

SERVE REGISTERED AGENT:
CORPORATION SERVICE COMPANY

1201 Hays Street
Tallahassee, FL 32301-2525

~ - ---You~ are-hereby summoned and required to serve upon Hon. Mark J. Patterson and -Hon.-John H.
Norton, III, Petitioner’s attomeys, whose addresses are noted in the Complaint, an Answer to the Petition,
which is herewith served upon you, within thirty (30) days after service of this summons upon you, exclusive

of the day of service. lf you fail so to do, Judgment by Default will be taken against you for the relief

demanded in the Complaint.

wITNEss,@M_QM, clerk Of gard court ar umw this ga '=‘~ day Ofgg,ggqmo.

ol Tennessee. ma '
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original ‘§M BY: M \JO;QA nr\,\`
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Curt
('l`his summons is issued pursuant to Rule 4 of the Tennessee Ru|es of Civi] Procedure.)

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RETURN OF SERVICE
Came to hand same day issued and served on the day of , 20_, by

delivering a copy of this summons and a copy of the complaint to

 

 

I hereby accept service of the within summons and complaint and waive

the formal service of same.

 

 

 

 

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NOTICE TO TH'E DEFENDANT(S):

Tennessee law provides a fou_r thousand dollar ($4, 000) personal property exemption from execution or
seizure to satisfy a judgment. lf a judgment should be entered against you in this action` and you wish to
claim property as exempt, you must file a written list, under oath, of the items you wish to claim as
exempt with the clerk of the court. The list may be filed at any lime and may be changed by you thereafter
as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any
execution or garnishment issued prior to the filing of the list. Certain items are automatically exempt by
law and do not need to be listed; these include items of necessary wearing apparel for yourself and your
family and trunks or other receptacles necessary to contain such apparel, family portraits, the family Bible,
and school books. Should any of these items be seized you would have the right to recover them. lf you "
do not understand your exemption right or how to exercise it,\you may wish to seek the counsel of a

lawyer.

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SHELB¥V|LLE, TN 37182

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IN THE CHANCERY COURTFOR BEDFORD COUNTY, TENNESSEE

 

1 7"‘ JUDICIAL DISTRICT
PHONEUS, LLC, )
) Case No. QSS=SL'Q
Plaintiff, )
v_s. § Chancellor J.B. Cox
Highway Games, LLC, § FlLED-_L__La___|_Q________
Defendant. ) -&-'-'-`LQ-C:;O;d°`°§:b",£c':m
CoMPLAiN'ti 0 i"~““” w
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PHONEUS, LLC (“PHONEUS”), is a limited liability company,

organized under the laws of the state of Tennessee, with its principal place of

business at 104 Anthony Lane, Shelbyville,_ Tennessee 37162.

2. Defendant, Highway Games, LLC (“Highway Games”), is a limited

liability company, organized under the laws of the state of Florida with its

principal address at 1015 Haines St., Jacksonville, Florida 32206. Highway

Games has appointed Corporation Service Company, 1201 H_ays Street,

Tallahassee, Florida 32301-2525 as its registered agent, and it may be served at

this address

3. This Court has jurisdiction over this action under the provisions of

T.C.A. §§ 16-11-102 - 103_and because Highway Games has consented to the
jurisdiction of this Court over the matters alleged herein

4. Venue is proper in this judicial district under T.C.A. § 16-11-114(3)

and because Highwayv Games has agreed to submit itself to venue in this

judicial district for disputes arising from the matters alleged herein

 

 

 

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5. On or about April 30, 2009, PHONEUS and Highway Games
entered into an Area Distribution Agreement (“ADA”). A true copy of the ADA
is attached hereto as Exhibit 1.

6. At all times relevant to the acts and omissions alleged herein, the
ADA was binding on and enforceable against Highway Games.

7. Highway Games has breached the ADA by failing to exert its best
efforts to promote and to enhance the development of PHONEUS vending
machines, as it is obligated to do under Section 3.C.(3) of the ADA, including by
failing to notify PHONEUS of infringing machines being used in the licensed
territory and by transferring location rights to a competing business

'8. . Highway Games has breached the ADA by engaging in other
business activities that cont]ict with Highway Games’ obligations under the
ADA, including by operating competitive machines, in violation of Section 8 of
the ADA,

4 9. Highway Games has breached the ADA by failing to pay
certification fees and costs billed to it under Section 3.C.(1) of the ADA,

10._ Highway Games has breached the ADA by failing to insure that

PHONEUS machines placed by it were operated in accordance with PHONEUS

 

Rules and Regulations, as required by Section 3.C.(4) of the ADA,
11. Highway Games has breached the ADA by failing to comply with

the ADA on three or more occasions during a consecutive twelve month period,
THE NoR'roN
LA\\~' FiRM, P.C. _ _ _ _
o~E oN we sewing in violation of Section 9.A.(f) of the ADA,
124 EA`sT leE sOuARE
P,O. DRAWER 37
SHELB`IVILLE. TN 37\52

 

 

 

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L,\\\' FiR.\i, P.C.
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P.o. DaAwEn 31
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12. By notice delivered to Highway Games On or about November 11,
2010, PHONEUS has properly and lawfully terminated the ADA, pursuant to
Section 9 thereof

13. Highway Games has and is violating Section 10.B. of the ADA by
having an interest in the distribution of collector card vending machines that
were not supplied by PHONEUS.

14. The pre-termination breaches of the ADA by Highway Games have
caused compensable injury to PHONEUS, in amount not yet determined.

15. The post-termination violations of Section lO.B. of the ADA by

Highway Games are causing and will continue to cause irreparable harm to

. PHONEUS, as well as compensable injury to PHONEUS, in an amount not yet

determined

WHEREFORE, PHONEUS demands judgment against Highway Games,
as follows:

a. For an injunction preventing Highway Games from manufacturing
or distributing collector card vending machines, or from participating in any
capacity in such manufacturing or distribution, for a period of five (5) years
from the date of termination of the ADA;

b. For an award of damages, profits, and exemplary damages caused
by and arising from Highway Games’ breach of contract and unlawful conduct;

c. For an award of costs incurred by PHONEUS in bringing this

action; and

 

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d.

and proper.

For Such other and further relief as this Court may consider just

Respectfully submitted,

WADDEY & PATTERSON, P.C.

Hon. Mark J. Patterson b 64¢+| E/

BPR NO. 7186 _ &7

1600 Division sc., suits 500 /7‘/"”““`”\
Nashville, TN 37203

(615) 24 -2400

 

Pst Offlce Box 37
helbyville, Tennessee 37162
(931) 684-4824

Attorn,eys for Plaintiff

 

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Staie ol Ten nessee, Bedlord County

l certify this is a
original

filed in the csse.

This
Curt M.

HIGHWAY GAMES pAE 81/18
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iii.':'_i..ui l.'Z F;q‘ g r,,
Cobb, Clerk & Mast:er ' _ `_,_; ;_'E__..U`.; l,_
§BEA DlSTRlBHTlQN A§BE§M§HT ' ' " ` ` ` "`

ins Area common Agreemem l“Agieemenr) is entered nw ins aoir day othihso , --~___

by and befween, phcneUS® LLC, a Tennessee. limited liability company with its principal office al
104 Anthony Lane, Shslbyvi||e, Tennessee 3716_0` ('COMPAN_Y') and Highway Games LLC, a
Florida corporation with its principal office ar 1015 Halnes Street, Jadrsonville, Florida 32206
{'DlSTRlBUTOR').

Dlstribulor has requested and Company has approved to terminate lhe= prior Area
Dlstrlbuiion agreement (ADA) and enter solely into this now ADA subject to the following

1. RECIT&L§

Under a non-exclusive license to U.S. Patent number 6,213.874, (`lhe '874 Pafont”). the
COMPANY manufactures and distributes vending machines that dispense collector cards.
including without llmiiation-, sports cards, prepaid debit post lottery and phonestyle cards. The
COMPANYS vending machines incorporate a 'no purchase neceser video game that
promotes ihs sale of the collector cards A_nd may offer a second war_pmmodo_nal contest to funher
enhance the sale cl the card. The COMPANYS vending machines are designed and distributed
under certain trademarks service marks, logos and other commercial symbols, includ‘mg. without
lirnitation, 'phon`eUS®"", "PHONEUS" “‘. (coll'ectivei/ the 'Marks") which are licensed to the
COMPANY. The COMPANYS vending machines ne _a|so designed and disinbuwd pursuant to
certain confidential information and trade secrets owned by fha COMPANY. The COMPANY‘S
vending machines are operated with uniform formats. designs systems meihode, specihca'dons,
standardsl a_n_d procedures all of which may be lmproved. further developed cr otherwise modified
from time lo lime by fha COMPANY.

The COMPAN\' grants in persons who meetthe COMPANYS qualifications _and who are
willing fo undertake the investment and effort the right to purchase, distribute and operate the
COMPANYS vending machines and purchase and distribute the COMPANYS collector cards
within a defined geographical area

DiS‘i'R_lBUTOR acknowledges that DiSTR|BUTOR has read this Agreement and
understands and accepts the wrms, conditions and covenants contained in this Agree_ment as
being reasonably necessary to maintain the COMF'ANY'S high standards of quality and service
and the uniformity cf those standards at all locations operating the COMPANY'S vending machines
in order lo protedland preserve lhc goodwill associated with the COMPANY and its Marirs.

DlS`l'RlBlJTOR adtnowledges that D|STR|BUTOR has conducted an independent
investigation of the business contemplated b`y this Ag`reem'e'nl and recognizes diet,r like any other
business the nature of the business conddowd by COMPANY may evolve and change over llme.
that an investment m vending machines and collector cards involves business risks and that the
success cf the venture is largely dependent upon the business abilities and efforts of
DlSTRlBUTOR. DlSTR|BUTOR agrees to fully disclose any and all findings from such an
investigation

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The COMPANY disclaims the making of, and DlSTR|BUTOR acknowledges that
DiSTRiBUTOR has not received cr relied upon. any warranty or guaranty, express or impiied, as to
the revenues,{ profits or success of the business venture contemplated by this Agreement.
DlSTRlBUTOR acidicwiedges that DiSTRiBUTOR has not received or relied on any
representations about the distributorship by the COMPANY, or its ofticers. directors, employees or
agents, and further represents to the COMPANY, as an inducement to its entry into this
Ag_reer_nehi, that DiSTRiBUTOR has made no misrepresentations to the COMPANY in
DlSTRiBUTOR‘s application for the distribution rights granted hereunder.

2- MMN§
rt ExcLusivE AREA

'E_xclueive _Aree' shall mean the geographic am dmcn`bed in Exhibii A, attached hereto
and made a part of this Agreement.

B. CONTROL PERSON

"Contro| Perscn' shell mean the person(s) identified on Ekhibif B who: (a) is empioyed,
authorized. and empowered by DiSTRiBUTOR to manage the bushiese operations of
olsi'RlauToR related to olsTRreuTcR'_s tighe and obligations under this Agreomorrt; and (b) ls
employed and authorized by D|STRlBUTOR to communicate with COMPANY on ali matters
pertaining to title Agreemfent.

3~ DLEIBEL|.IIQNBE_HIE_AMLU_GADQB§
A. TERM oF AGREEMENT, RE'NEWAL Ai\lo RESERvATloN oi= Rlei-ns

Sub]ect to the` provisions contained herein, this Agmement shall be for wl initial Temr
commener and expiring on the respective Oor_rlmencement and Explra'iion dates set forth in
Exhlbit B, attached hereto and made a partof th|_s Agree`me`r`it.

ll DiSTRiBUTOR is i_n compliance with all obligations, terms and conditions of this
Agr'eemeni. DiSTRiBUTOR may renew this Agreemen`t for additional successive bare (2) year
Tarms by: (a) providing written notice to COMPANY at least thirty [30) days prior to the Expiration
Date of the initial and any successive Terrn; and (b) paying a renewal fee to C_OMPA_NY in the
amount of five-hundred thousand dolars ($500.000.00) on or before the Expiration Date of the
initial end any successive Tenn.

The COMPAN¥ (on behalf of'itsaifand its aflilia_tes) retains the right in its sole discretion
and Mthout granting any rights to DiSTRiBUTOR: (a) to distribute cr to grant other persons the
right to distribute vending machhes and detector cards at such locations outside the Excll_isiv'e
Ar`ea and on such tenns and conditions as the COMPANY deems appropriate arid(b) to'sel| within
end outside the inclusive Area any and all predicts and services developed by the COMPANY
under the Merks'or other -tredernarks, service merits and commercial symbols lthough dissimilar
channels of distribution and pursuant to sllch wmls and conditions as tfle COMPANY deems

appropriate

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DiSTRiBUTOR understands and acknowledges that COMPANY mims rights under the
'874 Pate`nt that are non-exclusive and therefore is not granting to DiSTRiBUTOR an exclusive
right under the '874 Patent to distribute or operate collector'cerd vending machines tn the Exciusive
Anea.

B. R|GHTS DURlNG TERM

Provlded DiSTRiBUTOR: (i) is in_iuli compliance with the terms and conditions contained
in this Agreement, l`noluding`, without limitation the obligations contained in Par'agraph C ot this
Sectlon 3; and, subject to Par'ag`raph D of this Section 3: _ (1) grants to D|S'rRlBLlTOR a
distributorship for the purchase _and distribution ol the COMPANV'S vending machines and
collector cards during the Term end within the Exclusive Area and (2)_ grants t_o DlS'iT-ilBUTOR the
right under the '874 Patent to operate COMPANY'S vending machan during the Term at locations
within the Exduslve Area.

During the Term, DiSTRiBUTOR shall have the exclusive right to distribute COMPANY’S
vending machines w approved locations in the Exciustve Area, except as otherwise provided
herein.

. subrepi rp the coMpANY's right or approval rn section a.c.(a) pr mrs Agrepmeni,
DiSTRiBUTOR may distribute and operate COMPANY’S vending machines in truck stops,
convenience storee, tobacco stores. and other similar locations.

DiSTRiBUTOR shall have the right to purchase COMPANY vending machines that
incorporate improvements and upgde to COMPANY‘S existing phoneUS® collector card
vending machine .'

C. D|SiR|BUTOR'S OBLlGAT|ONS

(1) on each of Jenuary_rz'\, 2010, am August 31,-201o oisr_nleuron shall pay ap
COMPANY a certification tee of seventy-live hundred dollars ($7500.00) to C_OMPANY;
Upon mcei)t of me cerlihcation lee, COMPANY shall send ;a_ technician to inspect
COMPANY vending 'mach'nes `at locations operated by DiSTRlBtJTOR in the Exclusive
Territory and to re-ceriily that such machines are operating in compliance with this
Agreemenl. ll the actual travel, employee end repair costs tcr such re-inspection`s exceed
the certification iee. DlSTR|BUTOR shall pay the additional costs to COMPANY within
thirty (30) days alter receipt of a statement and documentation of such excess costa from
COMPANY.

m olsrRreuT_oR siren pay m couPAN'Y rpm percent (4.5%) or re gm receipts nom
each of COMPANV’S vending machines that were operated by DiSTRiBUTOR'in the
Exclusive T`en'itory prior to the date"ot title Agreerrren_t and from each of COMPANYS
vending machines acquired and operated during the Term ct this Agreement_ lt _|s the
intent ol’the parties that DlSTR|BUT(_JR shell purchase and operate phoneUS® machines
vending only pre-paid long distance telephone cards as collector cards. Hovireverl in the
event that DlSTRlBUTOR opts to convert any machines delivered hereunder to distribute

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other types of collector cards, DA|STR|B`UTOR shall pay COMPANY'S costs for the
conversion, including |abor. 1110 conversion shall take place at COMPANY‘S faculty
located in Shelbyvllle, Tennessee. and' transporting the machines to and from such facility
for conversion shall be _nr olsT_RlBuToR's expense ols'rRreuToR shall account in
COMPANY and shall pay COMPANY'S percentage of the gross receipts from each
machine orr a weekly basis C_OMPANY shall have the right to inspect DlSTR|BUTOR’S
books and records with respect to such gross receipts upon reasonable notice and during
ordinary business hours.

As an incentive to the DlSTR|BUTOR to keep all systems and amounts current and ln
complanoe with the ADA,` COMPAN¥ may collect'at its sole discretion an additional 1f2%
for a totat of 596 for failure to meet any provision of the ADA, This additional fee may be
collected at any time during the term ot the ADA. `

(3) DlSiRlBUTOR shall at all timec fatthfully. honesiy. and driigenlly perform
D|STRlBtJTOR’S obligations hereunder and shall-continuously end its best efforts to
promm and enhance the development ct the COMPANYS vending machines ln
awontance with the requirements set forth in Exh_ibit B (‘Mlnimirm.Distribution Quo'ta']. if
DlSTRtBUTO_R falls at any time to meet the schedule of the Minimum Dlstn’bution Quota.
the CO_MP_AN¥ shall have the right iv tenn|nete tirls Agreement by,deltvering a notioe'to_
olsrR_reuToR starrer mar ina corrme elects rn terminate _rnrs Ag»eemenr as a result
ci such teiture. Such termination shall be ettective upon delivery of such notice ot
termination

(4) D|STR|BUTOR acknowledges that it has been provided with a copy of the
COMPANY’S Rulec and Regulatlons ior die operation oi_'the___ C(_)MPANY'S vending

. machines and any associated promotional play.gamae_. DlSTRlBUTOR shall provide a
copy ot these `Rulee and Regulations lo all purchasers or licensees ot the CQMPANY'S
vending machines. D|STR|BUTOR shali_make' periodic random checke. notices than
once per month, at all locations within the Exc_luslve Areey to insure that the vending
machines are operated |n accordance with the COMPANY'S Rule's and Regu|atione. lt the
COMPANY discovers et any time that one or more vending machines wimin the Exclusive
Area are being operated in any matter other than lnetrict compliance with the Rules and
Regulathru, then the COMPANY shall provide DlSTRiBUTOR immediate written notice of
the location at which the vending machines are out of compliance together with a
description ot the steps needed to bring the operation of the vending machan i_n
compliance with the Rulea and Regu|ations. Upon `D|STR|BUTOR'S receipt ot such
notice, the DlSTRlBUTOR sheil have forty-eight (48_) hours to cure the noncompliance li
the noncompliance is not cured within forty-eight (48_) _h`ours, CQMPANY `s_hell have the
right to terminate this Ag`reement and said equipment wit become property et COMPANY.
Such tennlnation shall be reflective upon delivery of notice cf tennination.

(5) olsrRleuToR shall keep attached rn the _cor`.rPArrY's vending machines _all
identifying serial numbere, name platec, or D|STRiBtJTOR numbers associated in the
production, sale, and identiticet°on of the mechino`e.

 

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(6) DlSTRlBt_JTOR shall not modify the game niles or the mechanicalielectronic aspects ol
any of the COMPANY’S vending mechines. DiSTRiBUTOR shall not remove or alter the
artwork or trade dress of any COMPANY vending machine in any way.

(7_) DlSTRiBUTOR shall operate the'COMPANY‘S vending machines in only in accordance
with the designed method of a card dispensirig/prorrrodonal game. And will adopt,
implement and bear additional cost associated with doing so'.

(8)` Except es may be othenrrlse agreed in writing by COMPANV, in operating the
COMPANY'S vending machinee, D|STR|BUTOR shall (a). use only collector cards. phone
card in any form sold by COMPAN¥; and (b) use only phone time sold by Company.

(9_) DlSTRlBUT`O`R` acknowledges that in order_to preserve and enhance the reputation and
goodwill ot the COMPANY and the goodwill of the Marits', eli ot the COMPANY'S vending
machines must be properly developed and operated, Acccrdingly,- DlSTRlBUTOR agrees
that the COMPANY must approve all proposed vending machine locations in advance and
may refuse to grant to DlSTRiBUTOR the right to operatel adi or` license vending
machinesrat a particular location within 'lhe Exo_iuslve _Area. DiSTRiBUTOR shall submit to
the COMPANY a complete site report containing such demograrxrlc, commerolai. and
other information and photographs ea the COMPANY may reasonably require, including a
copy of an executed agreement pertaining tn lhe-sal_a. ilcense, or placement of vending
machines at the proposed location, but made expressly contingent upon the COMPAN¥’S
approval of the slte.

(10) DiSTRiBuroR shall indemnity defend and hold harmless me coMPANv and re
ailiiiates,- and their respective otlicere, directors, employtr€s and agenta, from any and all
dalms, demands. liabllities. ,and._atl._cosi_s_ and _elti>e!!§.e$.. liot=lu¢_!ing.. _,Wlth¢\rt,"mitailon.
reasonable attomeys‘ feee) arising from any failure by DlSTRiBUTOR to comply with the
terms and obligations cit title Agreement.

D. EXCLUSWE AREA_ CONFL|CTS

(1) Any continued operation of a CQMPANY vending machine within the Ex‘cluslve Aree by
the COMPANY or a purchaser or licensee of a vending machine which vending machine
was purchased or licensed on or before the date ofthie Ag'ree`ment` shall not be considered
to constitute a violation of this Agreement.

(2)` The rights granted DlSTR|BUTOR herein _a`ré wm 10_ any prior territorial rights of
other DiSTRiBUTORS which may now erdatln the Exclusiv'e _Aree, whether or not currently
being enforced ln the event of a conflict ln territorial rights. whether under distribution
agremn'ends br separate territorial or distribution agreements, lite eal'rer in_ time shall
prevei|, D|STR|BUTOR’S rights under this Agraemsnt strait terminate upon notice from the
COMPANY to this effect and, upon execution of a termination and rem agreement in
forth 't\n`d scope satisfactory to the COMPANY, _all fees paid hereunder by DlSTR|BUTOR
shell be refunded except to the extent of any debt to the COMFAN¥ which DlSTRlBUTOR
has demise mined and noi.paid. oisrRlaUroR shea be free to negotiatewiih_ any
person, corporationl or other enlity, which claims territorial rights adverse to the rights

does

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granted under this Agr_eement, ior the assignment ct those prior territorial rights For this
purpose, the COMPANY agrees to approve any such assignment not in conflict with any
other agreements involving the COMPANY provided the assignor a_nd assignee satisfy all
past due end current debts to the COMPANY and are otherwise in compliance with eli
terms and provisions of any and all agreements between each of them and the
COMPANY.

(3) in the event ot claims adverse to DlSTRlBUTOR'S right to distribute vending machines
in the Exclustve Arca, it is the responsibility of the COMPANY to protect and maintain
DiSTRiBUTOR‘S rights hereunder._ chev'er, it it appears to the `COM[-’ANY, in its sole
discretion, that protection of the Exctusive Area by legal action is not advisable whether
due to the anticipation of or actual protracted nature _of the ection, the costa inwlved, the
uncertainty ot outcorne, cr otherwise the COMPANY hac die right to tenninete this
Agreement pmMed the COMPANY executes a termination and release agreement in
form end scope satisfactory to it, tenders -such agreement to DISTR\BUTOR', end, upon
DiSTRiBUTOR'S eqrecrtion mereot, refunds ali fees tc.DiSTR|BUTOR except to the extent
ctany debt to the COMPANY which DiSTRiBUTOR has otherwise incurred and not paid.

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Ccnurrren’dy with the execution ot this Agreement, DiSTRiBUTOR shell pay to__tt_re
COMPANY the fee eat forth in Exh|blt B as a.non-r"efundable D_istribu_tion Fee, which shall be
deemed rurry earned by the coMFAN_Y upon mention archie Agme'menr. rn me event the FEE re
payable over a period of time any balance of Fee that may be outstanding should this agreement
be terminated by either party remains due and.payabie to COMPANY. _

5. CONF|D' ' 0 '

The COMPANY;pce'eeeoee certain confidential iniomratt_on and trade secrets, including the
methods. techniquee,‘fonnat. epeciticatlons. proceduroe, intormetton._ _aye_tenre end knowledge of
and experience in the manufacture repeir.and operation of the COMPANYS vending machines
(the 'Coniiderrtial lniormdtion'). The COMPANY may from time to time disclose the Confrde`ntiai
lnformatlon to DiSTRiBUTOR in providing guidance and assistance to DlSTR|BUTOR pursuant to
this Agreement .

DiSTRiBUTOR acknowledges and agrees that DiSTRiBtJTOR will not acquire any internat
in the Ccntidential lrrtormation', other than theright to utilize it in the distribution, re`p`alr. and
operation of vending machines pursuant to this Agreemerrt, and that th`e use or duplication of the
conidenuat marion in any amer brewer word mm an enter married er competition
DiSTRiBUTOR advantages end agrees that the Confldentta| Inforrnedon is proprietary and thill
be disclosed to DlSTRiBUTOR solely on the condition that DiSTRiBUTOR agreee, and
DiSTRiBUTOR does hereby agree, that DiSTRiBUTOR (t) will not use the Contidential
information tn any other business or capecity, (2) will maintain the aboolute contidentiality of the
Contidential information during and alter the term of this A`greement; (3) vn`li not make unaudiorlzed
copies ct any portion ot the Cont‘rdentiai |ntonnation disclosed tn written torm; (4) witt adopt and

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implement all reasonable prowdures prescribed from time to time by the COMPANY to prevent
unauthorized _use or disclosure of the Coniidential information including without limitation.
restrictions on disclosure thereof to employees of D|STR|BUTOR and the use of nondisclosure and
non-competition dauees _in employment agreements with such persons; and (5) will not disclose
the confidential lnronnation to limited partners or investors in DlsTRlaUroR (in the event this
A_greement is assigned to a partnership or corporatiori`), except t`o tiie extent certain iinanclai
reporting may be required by applicable partnership or securities lavts.~ Notviltiistending anything
to the contrary contained in title Aqreeme'nt, and provided DlsrRlBuTOR shall have obtained tire
CONiPANY'S prior written consent which consent shall not be unreasonably witttneld. the
restrictions -on DiSTRiBUTOR’S disclosure and use_o‘l the Coniidentlal information shall not apply
to disclosure of Conflden`tiai information in judicial di administrative proceedings to the extent
olsTRleuToR's' testatore. and dial have afforded the cottme the opportunity wtobtein an
appropriate protective order or other assurance satisfactory to the COMPANY 'of confidential
treatmenti'or the infomiadon required to be so d'sclosed.

DiSTRiBUTOR shall fully and promptly disclose to the COMPANV~, di ideas, concepts.
methods 'and techniques relating to the development and/or operation of collector wit vending
machines conceived or developed by DiSTRiBUTOR_ and/or DtS'l'R|BU`_l'OR'S employees during
ttie term of this Agreement. D|STR|BUTOR agrees that the COMPANY shall have the perpetual
right to use end authorize other distributors to use sum ideas, conceptsl methods and techniques
and. ii incorporated hto. tile COMPANY‘-S system for the development end/or operation ot the
vending machines such ldeas, concepts, methods and techniques will become the sole and
exclusive property et the COMPANY without any further consideration to DiSTRiBUTOR.

6. COFYRIGHTS D NTS

~ ~ ~ DiSTRiBUTOR acknowledgee'that the COMPAN¥ owns rights in certain copyrights and
patents related to vending machines and collector carde, inducing rights under U_.S, Patent No.'s
6,213,874 and 6,722,997. ,DISTR|BUTOR acknowledges and `BQFB_H lha! DiSTRiBi}TOR will not
acquire any ownership interest in rights owned by COMPANY in any copyrights end 'patenw and
that the use oi same in any bitter business 'or manner not expressly authorized by this Agreement
is prohibited DtSTRiBUTOR will adopt and implement ali masonable procedures prescribed from
lime to time by the COMPANY to prevent unauthorized use of the COMPANYS righw in copyrights
and patented

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DisTRleuToR ackan that DiSTRiBuToR has no ownership interest or any kind in
or tn the _Marits and that DiSTRiBUTOR'S right to' use the Marks is derived solely from this
Agroemenl. Aii usage of the Marits by D|STRiBUTOR and any_goodwiil established thereby shell
inure .to the exclusive beneiit__ot the COMPANY. Aiier the nomination or eig:timtion of this
Agreement, D|STR|BUTOR shall no`t,‘ directly or indirectiy,~ at any time use in any manner or'for any
purpose any MARK or any colorable imitation therth

Dl$TR|BUTOR shall not use any MARK as partoi atty complete orira.de name or with any

prehx. sullix, or utter modliyhg words, tenns. designs; or‘syr`nbbh. _or in zty tnodiiied iorrn, nor
may DiSTRiBUTOR usa eriy' MA_RK in connection with any business or activity. other than the

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business conducted by DlSTRlBUTOR pursuant to the Agreemenl, unless such use ls ex ic'ti
authorized ln writing by the COMPANY. p| l y

_ D|STR|BUTOR shall immediately notify the COMPANY ln writing of any apparent
infringement of or challenge to DlSTR|BUTOR'S use of any MARK, or claim by any person of any
rights in any MARK or similar trade name, trademark, service merit of which DlSTRlBUTOR
becomes aware. DlSTRlBUTOR shall nol communicate with any person other than the
COMPANY and lis counsel ln connection with any such infringement challenge or claim. The
COMPAN¥ shall have sole discretion to take such action as lt deems appropriate and the right to
exclmr'vely control any litigation. U.S. Palent and Trademark Olilce proceeding or other
administrative pmceedirig arising out of any such infringement challenge or claim or otherwise
relating-to any MARK

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DlSTRlBUT__O_R _shail exert its best eil‘orts to perform DlSTRlBUTOR‘S obligations
hereunder and shall not engage in afny other business or other activity, directly or jindlr'sctiy. that
may oonillct`wlth DiSTRiBUTOR‘S obligations hereunder. DiS'l'RlBUTOR will not operate, or allow
to operatel at any location any device that would be deemed inappropriate by COMPAN\'.-

9. TE TlDN
A. BYCOMPANY`

ln addition to he COMPANY'S right to terminate under Pe`ragrsph C ot Sectio`n 3 hereof,
the COMPANY shall have the right to terminate this Agreement by delivering a notice 'to
D'ST.R'BUTQR ewing that ha CQMP`ANY_ elects warniva iii§,hur€¢m¢"!asa result
of any of the defaults set forth below. Such termination shall be effective upon delivery`o't
such notice of tenninaiion or, ii applicaUe, upon failure to cure (to the COMPANY’S
satisfactlbn) any such default by the expiration of any period ot time within which such
default may be cured ln accordance with the provisions set forth below. lt shall be a
material default and breach of this Agreement lt

(a)` DlSTRlBUiOR attempts to make an unauthorized assignment or transfer of this
Agreement o_f there is a change.ln ownership interest in DiSTRiBUTOR:

(b) Subeequent to an assignment lo a corporation or pertrrr'.»'rsrhi'pl which has been
approved by the COMPANY in writing in the CO_MPANY’S prescribed a;_s._ignmentfonn, the
"control person“'deeignated therein (i) voluntarily or lnvduntarily relinquishes such position
without the COMPANY'S prior written approval or (ri) fails to perform in the duties and
obligations of DiSTRiBUTOR as set forth in this Agreement.

(c} DlSTRlBUTOR _ has (l) made_ any material misrepresentations or omission in
DlSTRlBUTOR'S appircation for the detrib'ution rights conferred by this Agreement or is
convicted of or pleads no contest to a felony or other crime or chem that may adversely
affect the goodwill associated with the M_arlrs or (il) DlSTRlB_UTOR (or any employee
egent. or licensee thereot'] conducts itself in a manner offensive to decency, morality, or

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social proprieties, or becomes involved in__any situation which degrades him and/or her `m
society or subiects either him and/or heirl the COMPANY, or the operation of the vending
machines to public disrepute; contempt or scanda|;

(d) DiSTRiBUTOR G) makes any unauthorized use of the Mart<s or unauthorized use or
disclosure of the Conlidentiai information or (ii) has failed to disclose to COMPANY prior to
the date .of this Agreemant any prior disclosure by DiSTRiBUTOR ot Gontidentlai
information in violation of any prior agreement

(e) DiSTRiBUTOR`faiis to comply with any other provision of this Agreement;

(r) orsrRiBuToR rairs on three (a) or mom_sepeare mens wrinin any waive (12)
consecutive month period, oron six (6) separate occasions cumulatively during the term of
this Agreemeni, to compfy with this Agreement, whether or not such failures to comply are
corrected alter notice literle is delivered to D|STR|BUTOR;- or

(g). DiSTRiBUTOR violates _any covenant tenn. or-condition ot any note or agreement
(inctuding any franchise or development agreementl between the COMPANY (or an

- aitiiiate) and DiSTRiBUTOR, the effect of which is to allow the COMPANY (or any affinate]
to accelerate the maturity of or to terminate such note or agreement before its stated
maturity or termination date.

DiSTRiBUTOR shaf have the right to cure a breach under Paragraphs (c)(ii) and (e) within
thirty (30) days after delivery of the GOMPANY'S notice of tennination.

B. BY DiSTRiBUTOR
D|STR|BUTOR may terminate this Agree`ment ii vending machines ordered by`

crsTRreuroR are not made avanai>ie inr pick-up by'oismreuron within forty-live (45)
days alter Pa¥m€"t is received by COMPAN¥._

10. EFF ' iii ` . ND

A. CONTiNtJiNG OBLlGATtONS

Aii obligations or me coMPANY and orsmieuToR_ nn¢ierl this _Ag¢eement which
expressly or by their nature survive the expi'ation or termination of this Agne`ement shall continue in
fuI force and effect subsequent to and notwithstanding the expiration or termination of this
Agreement.-and until they are satisfied ln full or by their nature-expire

B. COVENANT NOT TO COMPETE

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Upon termination or expiration cf this Agreement. DiSTRiBUTOR agrees that for a period
ci five (5) years, commencing on the eii'ective date ot expiration or termination of this Agreement.
DiSTRiBUTOR shall not have any interest as an_ owner, partner, 'director. otiicer, empioyee,
consuitant, representative or agent or in any other capacity, in any manufacturer or distributor ot
collector card vending machines or any style of electronic or_ other interactive sweepe`takos located
or operating within or out side any exclusive territory ln which COMPANY has granted a
distributorship

C. RETURN OF |NTELLECTUAL PROPERTY

Upon termination or expiration ct this AGREEMENT, DiSTRiBUTOR shell return to
COMPANY: (1) all copies of any documents and any machine parts incorporating any of the
COMPANY‘.S conhde`niial information or trade secrets;_ (2) ali materials and'machir`te parts that
display any of the Marks'; and (c) any part of any machine which is covered by any copyright or
patent owned by or licensed to COM_PANY. '

D|STR|BUTOR acknowledges the entire version of DlSTRBUTORS systems are covered
by one or more of the patents owed or controlled by COMPANY. t

11- .A_§§i§_tM_NI
A BY.coMPANY

Thie agreement is iulty assignebie by the COMPANY and such assignment shall inure to
the benefit o_t any assignee or other legal successor to' the interests of the COMFANY herein.

B. BY D|STR\BUTOR

DiSTRiBUTOR understands and admonisng that the rights and duties created by this
Agreement are personal .to` DiSTRiBUTOR and that the COMPANY_ has entered into this
Agreement in reliance upon the individual or collective charactsr, ski|i. aptitude, attitude, business
abtttiy, and financier capacity or DiSTRtBuTOR_ mature neither this Agre'ement,(or any interest
therein), nor any part or ali of the ownership of DiSTRiBUTOR may be voluntari|`y_, involuntarily
directly or indirectiy, curso|idatton br 'merger, by issuance of securities representing ah ownership
interest as a general partner of a .Hmited partnership, by transfer_ot an interest in _D|STR|BUTOR or
in this Agreement in a divorce proceeding, _or in the event of the death of DiSTRiBUTOR or an
owner of DlSTRiBUTOR. by wiii. declaration of or transfer in trust or the laws ct interstate
succession). without the prior written approval ol_‘ the-COMPANY. Any such assignment or transfer
without such approvai shall constitute a breach hereof and shall convey no rights to o`r interests in
this Agreementto such assignee

ii ownership oi'DlSTRiBUTOR changes during the Term ot this floreement to a new ovimer
acceptable to and approved by COMPANY, this -Agrecmen_t shall remain in full force and effect if

prior w such change tn wheamp, oi'sTR_te'uroR pays to colviva a transfer roe ot a minimum
of One Hundred ntty`-`thcusand dollars ($150,000.'00) or ii warranted in the COMPANY‘S sole

discretion a higher fee determined by the COMPANY. @/

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C. PUBL|§ OR ERIVATE QEfEBlN§§

' in the event DiSTRtBui_'OR shail, subject to the restrictions and conditions or n'ansfer
contarnod in Paragraph B of Saction 11 of this Agreement, attempt to raise or secure funds by the
sale of securities (tnciudlng. without ilmttetion, common or preferred stock. bonds. debentures or
general or limited partnership interests) in DlSTRlBUTOR or any af_hliaie of DiSTRiBUTOR.
i)lSTFtlBUTOR 'sha|| provide written information about COMPANY to the COMPANY prior to its
rncluston_ in any registration statement prospectus or similar offering circular or memorandum No
information respecting the COMPANY or any of its affiliates shall be included in any securities
disclosure document unless such information has been 'rumished by the COMPANY, ln writing,
pursuant to the written request of the DiSTRiBUTOR, in which the .DlSTRiBUT.OR states the
specihc purposes for which the 'mforrnation is in be `used. Should the COMPANY. in its sole
discretion, object to_ any reference to the COMPANY or any or its affiliates or w any of their
licensees in such ottering literature or prcs_pechrs, such literature or prospectus shall not be used
unless and until the objections of the COMPANY are withdraum. The COMPANY assumes no
responsibility for the offering whatsoever.

'Tl_reuprnspectus or other literature utilized in any such offering shall contain the following
language in bold-face type on lite flrstiextuai page thereof

NErTHER woRl_os or GAMEs, u.c NoR ANv_ or_= errs _AFFrr.rATg_s rs
orRr-:c'rLY on rNorREcrLY THE issues _or= THE sEctinr_rres _oFFEREo
HEREBY. NEITHER wonr.bs or= GA_MES, Lt.c iron ANY oF irs AFFruATEs
AssuMEs ANY 'REsPoNsrBrerY wrn_r REsPEcT_ To THis ol=r-‘_ERiNG
ANDroR AoEQuAcY oR AccuRAcY oF me rNr=oRMAnoN sE'_r r=oRrH
HERErN. _rNcLuorNG ANY sTATEuENTs MAoE wrrH REsPEcr To ANY oF
THEM. NErrHER w`ORr.Ds oF GAMESL,LLG `N_QR;ANY or= rr_s Ar=r=rLrATEs
ENooRsEs oR MAr<Es ANY_ __REcoMMt-:Nonrrorr wmr REsPEcT To THE
leEerENT coN'rEuPr_ArEo BY n-rrs oFFERrNG.

DiSTRiBUTOR shall indemnify, deland and hold harrnicss~the COMPANY and its afiiiat`es.
and their respective oir`rcers, directors employees and agents. from any and all'claims, demands,
tiabiiiiies. and eli costs and expenses (lncludtng, without limitation. reasonable _attnmeye' least
incurred in the defense of such c|alms, demands or liabilities. arising from the offeror sale of such
securitiesl whether awarded by a purchaser or any such security or by a govem`me'niai agency._
The COMPANY shall have the right '(b_ut not the obligation) to defend any such dalt`rr`s', demands or
liabilities and/or participate in the defense of any action to which the COMPANY or any of its
aiiiiiates or any ofiheir respeciv_e ofticers, directors employees or agents is named as a party.

12. §NFoRgEM§ 51
A. SEVERABli.iTY AND SUBST|TUTiON OF VAL_lD.`PR'OViSiONS
To the extent that Pai'a`graph B of Sectiori 10 is deemed unenforceable by virtue of its

scope in terms or area, business activity prohibited or length _of_tim_e, but may be made
enforceable by reductions 'ot any or ali thereof. DiSTRiBUTOR and the COMFANY agree that

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same _sha|l be enforced to the fullest extent pennisslble under tire laws and public policies applied
in the jurisdiction in which enlorcement'ls sought '

lt any applicable and binding law or rule ol any |urisdiction requires a greater prior notice of
tire termination of or non-renewal ot this Agreement than is required hereunder, or'the taking of
soma_other action riot required hereunder, or if under any applicable and binding law or rule or any
jurisdrct|on, any provision oi this Agreement or any spec|tice'tion, standard or operating procedure
prescribed by tha COMPANY _is hvalld or unenforceablel the prior notice and/or other action
required by such law _or' rule shall be substituted lcr the comparable provisions hereot, and the
COMPANY shall have the right, in its sole dlscneiion, to modify such invalid or unenforceable
provisicn, specttlcction. standard 'or operating procedure to the extent required tc be valid end
enlorcecbie. DiSTRiBUT_OR agrees to be bound by any promise or covenant imposing the
maximum duty permitted by law which is subsumed within the terms ot any provision trereot, as
though lt werel separater articulated`in and made a part of this Agreernent, that may result from
striking from any ct tire provisions hereof, or any speciiication, standard or operating procedure
prescribed by the COMPANY, any portion or portions which a court may hold to be unenforceable
in a final decision to which the COMPANY is a party, or from reducing the scope o_f any promise or
covenant to the extent required to comply with such a courtcrde_r._ Such modifications to this
Agreement strait be attentive only in such iurtsdiction, unless the COMPAN‘{ elects to give mem
greater applicability. and this Agreement shall be enforced as originally made and entered into in
all other jurisdictions ~

B. WA|VER OF OBLlGATlONS

The COWANY and D|STRIBUTOR may bewr_ittan instrument unilaterally waive or reduce
any obligation ot or restriction upon the other under this Agreement, eitectlve_upon delivery ot
- . written notice thereof to the other o"r such other effective date stated ln the notice of the walver_.,
Whenever this Agreement requires the COMPANY'S prior approval orconso'nt, DiSTRiBUTOR
shall make a timely written request thereof, and such approval, shall be obtained in writing.

The COMF'ANY makes n_o warranties-or guarantees upon which D|STR|BUTOR may reiy,
and assumes no liability or obligation to DiSTRiBUTOR, by granting any walver, approval or
consent to DtSTRlBUTOR, or by reason oi any negteot, deta"y, or denial ot any request thereot.
Any waiver granted'by the COMPAN¥ shall bowlthout prejudice to any other rightsthe CO_MP_ANY
may have, will be subhct to continuing review by the COMPANY, and may be revoked, in the
COMPANYS sole discretion et any time and for any reason, ettecttve' upon delivery to
DlSTRlBUTOR of ten (10) days' prior written notice.

The COMPANY and DiSTRiBUTOFt shall not be deemed to have waived or impaired any
right, power or option reserved by this Agreernent (lncluding, without irmitatlon, thought to' demand
exact compliance with every term. condition and covenant herein, or to declare any breach thereof
to be `a default and to'terrrrina`te this Agreement prior to the expiration ct its term), by vrrtue ot any
custom or practcc ot the parties'at variance with the terms hereot: any tailura. rehrsa|. or neglectot
the COMPANY or D|STRIBUTOR to ottemiae `any` right linder this AgtBement il to insist upon

exact compliance by the other with its obligations hereunder, or the acceptance by the COMPAN¥

of any payment from DlSTR|BUTOR after any breachot this'Agreeme`nt.

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Neither the COMPANY nor the DlSTR|BUTOR shall be liable for loss or damage or
deemed to be in breach 'of this Agreem_ent lt their respective failures to perform their obligations
result from: (1) compiance with any |aw. ruling, order, regulation, requirement or instruction of `eny
federai, state, or municipal government or any department or agency thereof: (2) acts of God: (3)
acts or omissions of the other party:_ (4_) strikes. embargoes. wa_r, or riot; or (5] any other similar
event or cause Any delay resulting from any of said causes shall extend performance accordingly
cr excuse performence, in whole or in part as may be reasonable

c. sPEchlc PREFoRMANCE/ln.luncrlve RELlEF

Nothlng in this Agt'eeme`n`l Shai| bar the C'OMPANY’S right to obtain specific-performance
of the provisions of this Agreement and injunctive relief against threatened conduct that will cause
it loss or da_r'nag`es, under wstom`aiy equity rules, including applicable `r"uiee for obtaining
restraining orders lnd preliminary injunctions D|STR|BUTOR agrees that the COMPANY may
have such injunctive relief, without borld. but upon due notice, in addition to such further and other
relief as may be available aleqully or lsn.

D. RiGHl'S OF PART|ES ARE CUMULAT|VE

The rights ct the COMPANY and DlSTRlBUTOR hereunder are cumulative and no
exercise or enforcement by` the C>OiiiF'i\.i‘i_'if or DiSTRiBUTOR of any right or remedy hereunder
shall preclude the exercise or enforcement by the COMPANY or _D|STR|BUTOR of any oher right
or remedy hereunder or which the COMPAN¥ or DiSTRiBUTOR is entitled by law or equity to
enforce. ~

E. GOVERNING LAW‘, WAiVER OF JURY TRiAL

" To he extent not inconsistent hith"eppnoabie law; this Agreement and the offer of sale of
this Agreement shall be governed by lie substantive laws land expressly excluding _tt_ie laws
pertaining to choice of law)' of the State of Tennessee Bo_th the COMPANY snleSTRlBUTOR
agree that neither shell be.ehtilled to nor shall either demand a july trial in the event of litigation

F. EXCLUSNE JUR|SD|CT|ON

DiSTRlBuToR and the coMPANY agree that any salim arising outer or relating is this
Agreer`r'_iernt (irlclu'ding, without limitation, the offer and sale 'of this Aqreement) shall be instituted
and maintained only in a state or federal court oi general jurisdiction irl Bedford _Cil)unty`l
Tennmee. end DlSTR|BUTOR irrevocably submits to the hmsdiedon of such court a"nd waives

any ob}ection he may have to either the jurisdiction or venue ot such courtl

G. BiNDiNG EFFECT
w` Thls Agreement is binding upon the parties hereto and their respective executors,

administrators heirs, 'assigns. and successors in interest and shall not ’be-'modtiied except by
witten agreement signed by bath DlSTRiBUT_OR and the COMPANY.

    

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H. CON STRUCT\ON

The recitals to this Agreemeni and Exhibits ,A and B, hereto attached, are a part of this
Agreement, which together constitute the entire agreement of the parties, and there are no other
oral cr written understandings or agreements between the COMPAN¥ and DiSTRiBUTOR relating
to the subject matteer this Agreernent

A|l_'prior agreements between the perties, including without limitation any Area Dtstribulion
Ag'reemente and test market agreements are hereby terminated except that all obligations
(including payment obligations) of DiSTRiBUTOR under any such agreements which expressly or
by their nature survive the expiration or termination cl any such agreement shall continue in tul
force and effect until they are satisfied in fuller by their nature expke.

Excapt as otherwise expressly provided for hereln. noihing"in this Agreement is intended
nor shall be deemed. to confer any rights 'or remedies upon any person or legal entity not a party
hereio.

The headings of the several sections and paragraphs hereof era for convenience only and
do nat detine_, limit or'construe the contents ofsuch sections or paragraphs.‘

The term ',D|STR|BUTOR' as used herein via applicable to one or more pcrsons, a
corporation or a partnership. a_'s the case may be, end the singular usage includes the plural and
the masculine and neuter usages Include the other and the iernirrine. il two or_ more persons are __at
anytime D|SiRlBUTOR hereunder, their obligations and -|lab`lhties lo the COMPANY shall be joint
and several Reierences to 'D|STR|BUTOR’ and 'assignee' which are eppfrcabte__to an individual

' _Or individuals shall mean the owner(s) of.the equity or operating control of DlSTR|BUTOR or the
assignee, ll DiSTRiBUTOR or the assignee is a corporation o_r pattnership.

This Agreement may be executed in multiple copies. each ot which shall be deemed an
orlgina|.

Trme.is oi the essence in this Agreement

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The COMPANY and DiSTRiBUTOR are independent contractors Neither the COMPANY
nor ,DlSTRlBUTOR shall be obligated by or have any liability under any agreemenm,
representation cr warranties made by the other that are noi'expr'emly authorized hereunder,~ nor
shall the COMPANY be obligated `tor any damages to any person or__pmperiy directly _or indirectly
arising out of the operation of the DlSTRlBUTOR'S‘negllgent or willful action ot failure to acl. `T_he
COMPANY shall have no liability _tor any sales.. use, excise, incorne, gross_*melpts, pmpe_rty, or
other taxes levied upon DiSTRiBUTOR or lis assets or upon the COMPANY in connection truth the
business conducted by DiSTRiBUTOR, or any payments made by D_lSTRiBUTOR to v the
coMPANY pursuant to this wiseman err any Frammse Ag¢eemem otsrntauron agrees to
indemnity the COMPAN¥ and its subsidiaries, aliillates, stockholders. directora, oflicers,

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empioyees, agents and assignees against a'nd to reimburse them lor*all such obligations
damages, and taxes for which they are held liable and icr all costs reasonably lncuned by them in
the defense of any such clalm_brought against them or ln any action in which they are named as a
party, including without limitation reasonable ettomeys' and expert witness 'fees, cost ot
investigation and proof of tacts, court costs, other litigation expenses and travel and living
expenses.* The COMPANY shell haw the right to defend any such claim against lt. The
lndemnities and assumptions ot liabilities and obligations"here|n shall continue in full'force and
effect subsequent to and notwithstanding the expiration or tenn|nalion of this Agreement.

14. NQT|CES AND M!!ENTS

All written notices and reports pennmd or required tp be delivered by the provisions of
this Agreem_ent shall be deemed so delivered at the time ii delivered by hand. one (1) business day
after sending by facsimile or electronic mail, or three (3) business days after placed in the U.S. mail
by Regi`stered or Certilled Mail, Retum Receipt`Requested. postage prepaid and addressed to the
party to be notified et its most current principal business address di which the notifying party has
been notitied.

COMPANY shall communicate all notlcse regarding breach or lack of compliance with this
Agreement by DlSTRlBUTOR to the Contiol Persnn. with a copy of such notice also delivered to

Perry.Chappell.

lN Wl‘l'NESS _WHEREOF the parties hereto have executed, sealed, and delivered this
Ag'reem`ent in two counterparts onthe d_e`y and year hrst labove Mltten.

Highway Games LLC,

 

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PHONEUS LLC,

By:M/~\\'

D. Keith Hetiin
CEO.

;Yr, 15

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AREA orsTr-'<reuriori AGREEMENT eEerEN pHoNEus. LLc ANo
Hie_riwAY GAM_ES, L_Lc. oATED Aprn 30m, 2009

Excluslve Area: All counties within the Commonwealth cl Vuginia with the exception of territories
in Wythe County, Bedfor`d, Smyth, Pulaslri, Mon@omery, Cerroli and any bordering counties in
Vlrginia.

Stnte 01 Tennessee, Bedtord County

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nghway Games LLC L;eor|:.itay| th 9 s s_ , py

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4 Thia H-(a,-ll> .__
BY`~ ' ' y curt pr. cobb, clerk s Mascer
(Gary` Coleman Sr.)` -

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PHONEUS, LLC

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E§H|B|T §
to
AREA.D|STR|BUT|ON AGREEMENT BETWEE_N H|GWAY GAMES, LLC AND
PHONEUS'LLC. DATED April 30th, 2009
CONTROL PERSON: Gary B. Coleman Sr. l, ,_ j _. .. z __ .n l._ q 5 ,',;,_ `_ ,__, ,C_"_
leAL TERM' ii r tier t 2 P'ri 2= ti 17

aptrarron Date: Apni 30, 2011 BY,_C_.M;AL£\_Q@Q,

MlNlMuM brsTRreurl`oN ouoTA- 100 new machines per yes ar me men current market price

DlSTRlBUTlON FEF_' '(FlVE HUNDRED THOUSAND DOLLARS) 5500.000 Dollars to be paid over
two years per the following schedule Should Company or Distribuh)r terminate the ADA the full tee
remains due and coilecteble.

(Twenty Flve'Thousand) 25,000.00 to be paid upon.signhg with additional payments of (Twenly
Flvs ’lhousand) 25,000 per month due on the`t“`of each month beginning June_ 1=' with tinai
payment due on the 1=¢ otDecember 2010.

  
 

Hrsr-rwAv ames '. iNc.

 

nnssses, Bedtord County

 

 

 

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PHONEUS, LLC
ar W

D, Keith Hetl'm

CEO

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ADDENDUM 1 TO AREA DiSTRiBUTIOIN AGREEMENT
BETWEEN phoneus LLC and Highway Games LLc patco Apt»it 30“‘, 2009

Distributor has requested and Company has agreed as art option to paying 4 and ’A
percent of gross revenues The company has the option of paying (Onc 'Million Do`l|ars)
$1,000,000.00 to Com'party with in che‘f`trst six months of cheADA. Upon payment of
lump sum Comptmy will then reduce the gross percentage to the original 3% from the
date of full payment ofthe captioned fec.

HIGHWAY ES LLC

        

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P*’°“°US® LLC a `.::~t t tvz_ t. o tit . ,\
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D._Keim Heilln
Ceo

state el Tsttrtscoee, Bedrord county

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